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                           UNITED STATES COURT OF INTERNATIONAL TRADE
                                       ONE FEDERAL PLAZA
                                     NEW YORK, NY 10278-0001



 CHAMBERS OF
Claire R. Kelly
     Judge


                                                    March 11, 2022

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      Re:   Garg Tube Export LLP et al v. United States
            Court No. 20-00026

Dear Counsel:

       It is my intention to issue a public version of the Opinion and Order in the
above-captioned proceeding on or shortly after Monday, March 21, 2022. The court
has double-bracketed information that was designated as confidential in the
underlying record. However, out of an abundance of caution, I would like you to
review the Opinion and Order and inform the court by Friday, March 18, 2022 in
writing, (1) whether any information not already in brackets is confidential and
should be double-bracketed in the public version, or (2) whether any information
already in brackets is not confidential and should not be double-bracketed in the
public version. If you do believe any additional information should or should not be
redacted from the public version, please state the basis for your belief.

      Thank you for your assistance.

                                                   Sincerely,
                                                   /s/ Claire R. Kelly
                                                   Claire R. Kelly, Judge
Cc: Steve Taronji
    For docketing
